        Case 1:20-cv-04809-TCB Document 21 Filed 11/30/20 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CORECO JA’QAN PEARSON, et al.,                )
                                              )
       Plaintiffs,                            )
                                              ) CIVIL ACTION NO.
v.                                            ) 1:20-cv-4809-TCB
                                              )
BRIAN KEMP, et al.,                           )
                                              )
       Defendants.                            )

                           NOTICE OF APPEARANCE

      COMES NOW Russell D. Willard, Senior Assistant Attorney General, and

hereby makes an entry of appearance in the above-styled action on behalf of

Defendants Governor Brian Kemp, Secretary of State Brad Raffensperger, and State

Election Board Members Rebecca Sullivan, David Worley, Matthew Mashburn, and

Anh Le (collectively, “State Defendants”). Please direct all further pleadings,

notices, orders, and other matters to him at the following:

                     Office of the Attorney General
                     40 Capitol Square, SW
                     Atlanta, Georgia 30334
                     Telephone: (404) 458-3316
                     E-Mail: rwillard@law.ga.gov




                                          1
 Case 1:20-cv-04809-TCB Document 21 Filed 11/30/20 Page 2 of 4




Respectfully submitted, this 30th day of November, 2020.


                               /s/ Russell D. Willard
                               RUSSELL D. WILLARD 760280
                               Senior Assistant Attorney General

                               Office of the Georgia Attorney General
                               40 Capitol Square SW
                               Atlanta, GA 30334
                               rwillard@law.ga.gov
                               Tel: (404) 458-3316
                               Fax: 404-651-9325

                               Counsel for State Defendants




                                 2
        Case 1:20-cv-04809-TCB Document 21 Filed 11/30/20 Page 3 of 4




                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing has been formatted using Times New

Roman font in 14-point type in compliance with Local Rule 7.1(D).

                                     /s/ Russell D. Willard
                                     Russell D. Willard
                                     Assistant Attorney General




                                       3
        Case 1:20-cv-04809-TCB Document 21 Filed 11/30/20 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing NOTICE

OF APPEARANCE with the Clerk of Court using the CM/ECF system, which will

send notification of such filing to counsel for the parties of record via electronic

notification.

      Dated: November 30, 2020.

                                      /s/ Russell D. Willard
                                      Russell D. Willard
                                      Assistant Attorney General




                                         4
